         Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 1 of 11




                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

 AULUKISTA, LLC, Individually and       §
 Derivatively on behalf of Global Windcrest
                                        §
 II, LLC                                §
                                        §
           Plaintiff,                   §
                                        §                                 CAUSE NO. 5:22-cv-274-FB-HJB
 v.                                     §
                                        §
 GLOBAL BUILDING, LLC; and              §
 CHRISTIAN MEJIA; and nominal defendant §
 GLOBAL WINDCREST II, LLC               §
                                        §
           Defendants.                  §

                MOTION TO EXTEND TEMPORARY RESTRAINING ORDER

         NOW COMES, Plaintiff, AULUKISTA, LLC (“Aulukista”) individually and derivatively

on behalf of Global Windcrest II, LLC (“GWII” or “Company”), and respectfully requests the

Court extend the temporary restraining order granted by the 131st Judicial District Court, Bexar

County, Texas prior to removal for good cause and until a hearing on preliminary injunction is set.

                                        I.       FACTUAL BACKGROUND

         1.       This injunction dispute arose after Plaintiff Aulukista, an Alaska limited liability

company and 68% majority member of GWII, a Delaware 1 limited liability company, supported

GWII’s passage of a Resolution 2 terminating Defendant Global Building, LLC (“Global


         1
            Plaintiff would note there is a question as to whether diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)
truly exists in this matter as Aulukista brings a derivative action on behalf of GWII, a limited liability company formed
in Delaware, which is the same state of formation as Defendant, Global Building, LLC. Additionally, Christian Mejia,
who has not made an appearance before this Court, is a Texas resident. Additionally, this is a suit only for injunctive
relief. No monetary amount is sought whatsoever, and the financial impact of the injunction would be less than
$75,000, even over 12 months if that was the time it would take to arbitrate the case. However, due to the exigent
circumstances and need to prevent irreparable harm, Plaintiff has filed this motion to extend the TRO issued by the
state district court. Plaintiff may consider later whether to timely file a motion to remand if the Court does not make
inquiry itself as to its jurisdiction.
          2
            See Defendant Global Building, LLC’s Notice of Removal (hereinafter “Notice of Removal”), Doc. 1-6 at
3-4


L & B 24720/0002/L2091889.DOCX/                            1
           Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 2 of 11




Building”) from continuing to act as the Manager of GWII, the owner of that 5-story commercial

building located at 8930 Fourwinds Drive, Windcrest, Texas 78239, (the “Building”). The basis

for the removal of Global Building as Manager of GWII is detailed in the Resolution itself 3, the

verification/affidavit of Sharon Lechner to the sworn allegations in the state lawsuit, and the

Affidavit of Sharon Lechner filed herewith as Exhibit B hereto, with pictures demonstrating

substantial health and safety issues due to the prior mismanagement of Global Building (See

paragraph 4 of the Affidavit of Sharon Lechner, and specifically Exhibit hereto and specifics on

the basis for the removal of Global Building as Manager of GWII under the Operating Agreement.

           2.       Global Building is a Delaware limited liability company with administrative offices

in California whose two members, C.W. Tucker Lewis (“Tucker”) and Tad Lewis (“Tad”) are

allegedly residents and citizens of the states of Maine and Washington, respectively. 4 Defendant

Christian Mejia (“Mejia”) is a resident and citizen of Texas; although it is not clear exactly who

her employer is (on information and belief it is Global CRES, Inc, a subsidiary or affiliate of Global

Building). Ms. Mejia was the “face” representing the onsite property manager for the Building.

Ms. Mejia was the person whom tenants and third parties visibly affiliated with the on-site

management of the Building prior to the Honorable Judge Laura Salinas granting a Temporary

Restraining Order (TRO) in state court on March 14, 2022, enjoining Global Building from acting

as the Manager of GWII and, in the case of Ms. Mejia, from acting as the on-site management

representative. Defendant Mejia was served per the special provisions in the TRO by email, but

she was not personally served with citation in the state lawsuit. She was appropriately not at the

Building on March 15, 2022 when personal service of citation was sought as she was email served




3
    See Notice of Removal, Doc. 1-1 at pp. 16-29 (Exhibit 1 to Resolution - Partial Statements of Manager Default)
4
    See Notice of Removal, Doc. 1 at 7, n.41 & 42.


L & B 24720/0002/L2091889.DOCX/                            2
         Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 3 of 11




the day before, and the residential information Plaintiff had on her turned out to be inaccurate.

See Affidavit of Peter Kilpatrick.

         3.       Prior to the Resolution terminating Global Building, an authorized representative

of Aulukista informed GWII’s minority member, Global Windcrest Partners, LLC (“Global

Windcrest”), of its intent to terminate Global Building as Manager through a written consent of

GWII’s members in lieu of a special meeting. 5 Importantly, Global Windcrest is a Delaware

limited liability company. 6

         4.       As part of Global Building’s termination as Manager, Aulukista, on behalf of GWII,

requested various items by March 5, 2022, including but not limited to accounting records; tenant

security deposits, certificates of insurance and leases; cashier’s check with the remaining balance

of GWII’s bank accounts; building keys and related items. 7 When Global Building wholly failed

to comply or acknowledge its removal as manager of the Building, Aulukista, on its own and on

behalf of GWII, initiated a state court proceeding in the 131st Judicial District of Bexar County,

Texas seeking only injunctive relief to prevent Defendants Global Building and Mejia from

continuing to represent themselves to tenants and third parties as the Manager and on-site property

manager of the Building as if they were still authorized to act on behalf of GWII despite the GWII

Resolution terminating Global Building’s “services” as Manager of GWII. 8

         5.       On March 14, 2022, the state court issued a Temporary Restraining Order (“TRO”)

against both Defendants Global Building and Mejia, finding Plaintiff had shown a probable right

of recovery and high probability it would continue to suffer imminent, irreparable harm before a




         5
           See Notice of Removal, Doc. 1-7 at pp. 19-20.
         6
           See Doc. 1-7 at p. 35.
         7
           See Id.
         8
           See Notice of Removal, Doc. 1-1 (Plaintiff’s Original Petition and Application for Injunctive Relief), at
pp. 11-14, ¶¶ 26-38.


L & B 24720/0002/L2091889.DOCX/                           3
         Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 4 of 11




hearing on an application for temporary injunction could occur if the TRO were not granted. 9 Per

the Order granting TRO, a hearing on Plaintiff’s application for temporary injunction was set for

Wednesday, March 23, 2022, approximately five (5) days before the TRO would expire on its own

terms under Tex. R. Civ. P. 680. One day before the hearing on temporary injunction, Defendant

Global Building removed the litigation to this Court based on alleged diversity jurisdiction.                    See

Affidavit of Peter Kilpatrick, ¶ 8, attached at Exhibit A presented herewith.

                  II.       MOTION TO EXTEND TEMPORARY RESTRAINING ORDER

         6.       For good cause, Aulukista asks the Court to extend the temporary restraining order

entered by the Bexar County district court on March 14, 2022 until a hearing for preliminary

injunction can be set, or jurisdiction in this Court is determined, in accordance with its discretion

under Fed. R. Civ. P. 65(b). 10

         7.       It is evident from the timing of Global Building’s removal, one day before the

hearing on Aulukista’s application for temporary injunction in state court that Global Building’s

principal purpose for removal was to attempt to negate the TRO to avoid compliance. However,

it is well settled that once a case is removed to federal court, “federal rather than state law governs

the future course of proceedings, notwithstanding state court orders issued prior to removal.”

Granny Goose Foods, Inc. v. Brotherhood of Teamsters and Auto Truck Drivers Local No. 70, 415

U.S. 423, 437, 94 S.Ct. 1113, 39 L.Ed.2d 435 (1974). Under 28 U.S.C. § 1450, “[a]ll injunctions,

orders, and other proceedings had in such action prior to its removal shall remain in full force and

effect until dissolved or modified by the district court.” In construing the effect of 28 U.S.C. §1450




         9
           See Notice of Removal, Doc. 1-2 (Order Granting Temporary Restraining Order).
         10
            See Jones v. Belhaven College, 98 Fed.Appx. 283, 284 (5th Cir. 2004) (finding the district court did not
abuse its discretion by extending a TRO because “the court had the inherent authority to preserve the status quo until
the question of its jurisdiction could be resolved.” (unpublished opinion).


L & B 24720/0002/L2091889.DOCX/                           4
         Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 5 of 11




and the Federal Rules of Civil Procedure on the duration of a temporary restraining order issued

prior to an action’s removal to federal court, the Supreme Court developed the following rule:

         “An ex parte temporary restraining order issued by a state court prior to removal remains
         in force after removal no longer than it would have remained in effect under state law, but
         in no event does the order remain in force longer than the time limitations imposed by Rule
         65(b), measured from the date of removal.” Granny Goose Foods, 415 U.S. at 439-40.

         8.       Under Tex. R. Civ. P. 680, a temporary restraining order “shall expire by its terms

within such time after signing, not to exceed fourteen days, as the court fixes, unless within the

time so fixed the order, for good cause shown, is extended for a like period or unless the party

against whom the order is directed consents that it may be extended for a longer period.” The

language in Tex. R. Civ. P. 680 mirrors the language found in Fed. R. Civ. P. 65(b)(2), which

states every temporary restraining order issued without notice “expires at the time after entry—not

to exceed 14 days—that court sets, unless before that time the court, for good cause, extends it for

a like period or the adverse party consents to a longer extension.”

         9.       Based on the language in the TRO setting Aulukista’s application for temporary

injunction hearing on March 23, 2022, the TRO would have expired after the state district court

either granted or denied Aulukista’s requested relief. However, Global Building’s removal

prevented Aulukista from pursuing temporary injunctive relief, which Aulukista now understands

was intentional based on representations by Global Building’s counsel contending the TRO was

never valid and Global Building’s position it is still GWII’s Manager. 11 Global Building should

not be permitted to circumvent the relief granted by the state district court through gamesmanship

in the federal court system. Accordingly, per 28 U.S.C. § 1450 and the rule announced in Granny

Goose Foods, Aulukista’s TRO should be deemed in force and effect until at least April 5, 2022,



          See Affidavit of Peter Kilpatrick (hereinafter “Kilpatrick Affidavit”), attached hereto at Exhibit A, ¶11
         11

and Exhibit A-1.


L & B 24720/0002/L2091889.DOCX/                           5
         Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 6 of 11




fourteen days after removal of this action to this Court. Furthermore, good cause exists for the

Court to extend the TRO beyond April 5, 2022 to the extent necessary to either set a hearing for

preliminary injunction by April 19, 2022, or confirm the Court has jurisdiction over this matter

based on diversity. Alternatively, in the unlikely event the Court finds merit in Global Building’s

argument that the TRO was void or has expired, Plaintiff moves for an original temporary

restraining order from this Court pending a preliminary injunction hearing to be set by this Court.

         10.      As Aulukista can show, the same conduct and irreparable harm and injury to GWII

that supported the Bexar County district court’s granting of the TRO continue or is imminently

threatened today, will continue to persist unless and until Defendants Global Building and its

representatives are enjoined from representing themselves to tenants, creditors, contractors and

other third parties as agents authorized to act on behalf of GWII as Manager and, as a result, onsite

property manager, in contradiction to the Resolution. 12 Indeed, from the date the TRO was issued,

Defendant Global Building has only partially complied with the state district court’s order,

continuing to refuse to turn over financial statements and requested information necessary to

properly conduct GWII’s affairs and ensure the Building is maintained in a habitable and safe

condition. 13 Shockingly, as of March 25, 2022 and repeated again by Global Building on March

29, 2022 (see Affidavit of Peter Kilpatrick, and exhibits 3 and 4 thereto), Global Building is now

asserting the TRO was void from its inception or has expired, and is threatening to “immediately”

resume activities as if it was never removed as Manager. As set forth in the Affidavit of Sharon

Lechner, such activity directly contravenes the Resolution and Operating Agreement. 14 Without



         12
            See Hill v. Chester White Record Ass’n, Civil Action No. 5:21-CV-274-M-BQ, 2021 WL 5446511 at * 4
(N.D. Tex. Nov. 18, 2021) (noting, “[w]here the movant demonstrates ‘that the grounds for originally granting the
temporary restraining order continue to exist,’ courts have also found good cause.”) (internal citations omitted).
         13
            See Kilpatrick Affidavit at Exhibit A, ¶¶ 11-12 and Exhibits A-1 through A-4; see also Affidavit of Sharon
Lechner (hereinafter “Lechner Affidavit”), attached hereto at Exhibit B, ¶¶ 5 and 6.
14
   See Exhibit B.


L & B 24720/0002/L2091889.DOCX/                           6
         Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 7 of 11




an extension of the TRO, Aulukista cannot protect its interests, either individually or derivatively

on behalf of GWII, from the harm that would be caused by the confusion should Global Building

seek to resume acting as the Manager and refusing to comply with the Resolution to remove itself

from GWII’s affairs and the premises of the Building. 15

         11.      Irreparable harm and inadequacy of legal remedies is the basis for injunctive relief

in the federal courts. See Sampson v. Murray, 94 S.Ct. 937, 39 L.Ed.2d 166, 415 U.S. 61, 88

(1974) (internal citation omitted). Furthermore, while “pre-removal state-court rulings cannot set

the law of the case in federal court, they are entitled to some deference during post-removal

proceedings.” Xtria, LLC v. Intern. Ins. Alliance, Inc., Civil Action No. 3:09-CV-2228-G, 2009

WL 4756365 at *5 (N.D. Tex. Dec. 11, 2009) (citing Smith v. Amedisys, Inc., 298 F.3d 434, 448

n. 11 (5th Cir.2002)). Here, the affidavit testimony of Aulukista’s President (which also served as

the basis for Aulukista’s TRO in the state court proceeding), establishes the type of irreparable

harm both Aulukista and GWII will continue to suffer if Defendants Global Building and Mejia

are allowed to ignore the Resolution and “immediately” resume activities as threatened by Global

Building, as if it is still the Manager of GWII. 16

         12.      Specifically, under Global Building and Mejia’s management, the Building was left

in a condition that did not comply with various health and safety codes and presented a danger

both to tenants and members of the public alike. 17 Absent Global Building’s compliance with the

TRO, Aulukista cannot obtain the necessary data and information necessary to conduct an audit of

GWII’s current finances to determine the extent of Global Building’s mismanagement, or to

meaningfully engage in mediation and eventual arbitration of the parties’ dispute, as it relates to



         15
            See Lechner Affidavit at Exhibit B,
         16
            See Kilpatrick Affidavit at Exhibit ¶10, Exhibit A-4; See Lechner Affidavit at Exhibit B, ¶¶ 4, 5 & 8.
         17
            See Lechner Affidavit at Exhibit B ¶ 4.


L & B 24720/0002/L2091889.DOCX/                           7
         Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 8 of 11




the justification of Global Building’s removal and Aulukista’s claims for monetary damages

against Global Building. 18 More importantly, Global Building and Mejia’s presence in the

Building will only cause confusion among the tenants and interfere with Aulukista’s efforts to

obtain quality managers to properly oversee GWII’s business affairs, as well as proper

maintenance and management of the Building to avoid the harm and safety hazards that existed

during Defendants’ tenure. 19 Accordingly, good cause exists for the Court to extend the TRO

issued by the Bexar County district court as Aulukista rightly showed it had (and continues to

have) a substantial likelihood of prevailing on the merits; there is a substantial threat Aulukista

(individually and on behalf of GWII) will suffer irreparable injury; the threatened injury to

Aulukista outweighs any threatened harm to Defendants; and extending the injunctive relief will

not disserve the public interest (and in fact would further the public interest given the serious health

and safety violations at the Building under Defendants’ care).

         13.         For the reasons set forth above, and good cause shown, Plaintiffs urges that this

Honorable Court grant an extension of the Temporary Restraining Order Or, alternatively, in the

event this Court agrees with Global Building’s position, asserted as of March 25, 2022, that the

TRO was never valid or has expired, that the Court grant an original temporary restraining order

that would enjoin Defendant Global Building from commandeering the Building as Manager as it

threatened to do “immediately” on March 29, 2022, and specifically hat Defendant Global

Building and its agents and affiliates, including Global Cres and Christian Mejia, be enjoined from

engaging in the same activity enjoined by the state court on March 14, 2022, or substantially

similar thereto, to wit, from

                 •   representing to vendors, creditors, contractors, accountants, lenders, governments,
                     brokers, banks, insurers, tenants, prospective tenants, and the public at large that

         18
              See Id. at ¶¶ 8-10.
         19
              See Id. at ¶ 5.


L & B 24720/0002/L2091889.DOCX/                       8
         Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 9 of 11




                   Global Building continues to act as the Manager of GWII, or that Christian Mejia
                   is an authorized representative to manage the property owned by GWII [nothing
                   herein prevents Global Building from asserting its legal rights in this proceeding
                   or arbitration, from asserting whatever legal rights it sees fit to urge that it should
                   remain or be compensated for being allegedly wrongfully removed as Manager of
                   GWII];

               •   transferring any funds of GWII to itself or another;

               •   failing to turn over all books and records, keys, badges, fobs, monies, funds, Letters
                   of Intent, tenant deposits, blueprints, schematics, As-Builts, leases, certificates of
                   insurance and security codes of GWII to Aulukista as the representative of GWII
                   pending a new Manager being named;

               •   Christian Mejia trespassing in the subject Building in Bexar County, Texas (other
                   than for limited purpose of retrieving her personal things);

               •   From operating any website claiming to the public that Global Building continues
                   to be the Manager of GWII or that it has authority to hire or place any property
                   management service at the Building located at 8930 Fourwinds Drive, Windcrest
                   Texas 78239;

               •   From using or disclosing proprietary and financial information of GWII to third
                   parties;

               •   From removing any asset or item located on the Building or the Property of any
                   kind, personal belongings of Ms. Mejia excepted; and

               •   From destroying financial records and other documentary evidence regarding
                   GWII.
                               IV.    REQUEST FOR RELIEF/PRAYER

         14.       For these reasons, Movant Aulukista, LLC, individually and derivatively on behalf

of Global Windcrest II, LLC move this Court to extend the temporary restraining order based on

good cause until such time as the Court sets a hearing for preliminary injunction prior to April 19,

2022, or the Court considers its jurisdiction over this matter, and for such other relief to which

Aulukista is entitled to both individually and derivatively on behalf of Global Windcrest II, LLC.

Or, alternatively, in the event this Court agrees with Global Building’s position, asserted as of

March 25, 2022, that the TRO was never valid or expired, that the Court grant an original



L & B 24720/0002/L2091889.DOCX/                      9
        Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 10 of 11




temporary restraining order that would enjoin Defendant Global Building and its agents from

engaging in the conduct described in Paragraph 13 above, and for such other and further relief to

which the Court believes Plaintiff may be entitled.

                                             Respectfully submitted,

                                             LANGLEY & BANACK, INC.
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                                             745 East Mulberry, Suite 700
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                                             By: /s/ Peter L. Kilpatrick
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                                                     State Bar No. 24045841

                                             ATTORNEYS FOR PLAINTIFF AULUKISTA,
                                             LLC, Individually and derivatively on behalf of
                                             GLOBAL WINDCREST II, LLC



                                  CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule CV-7(g), to the extent conference is required on an application to
extent a TRO, I hereby certify that on March 23 and 24, 2022, counsel for Plaintiff conferred with
counsel for Defendant Global Building, LLC regarding the relief requested in this motion, and
Defendant’s counsel on or about March 25, 2022, stated it would not stand down and on March
29, 2022 threatened to immediately resume acting as Manager.

                                                       /s/ Peter Kilpatrick
                                                      PETER KILPATRICK
                                                      ERICA E. VALLADARES




L & B 24720/0002/L2091889.DOCX/                 10
        Case 5:22-cv-00274-FB-HJB Document 2 Filed 03/29/22 Page 11 of 11




                                  CERTIFICATE OF SERVICE
        I hereby certify that the foregoing instrument was electronically filed with the Clerk of the
United States District Court for the Western District of Texas, San Antonio Division, and that a
true and correct copy of the foregoing instrument will be served upon all counsel of record pursuant
to ECF as to Filing Users, and by certified mail to an address of Christian Mejia at 600 E. Sonterra
Blvd, San Antonio, Texas 78258, #3403, which is believed to be accurate, on this the 29th day of
March 2022.


                                                      /s/ Peter L. Kilpatrick
                                                      PETER L. KILPATRICK
                                                      ERICA E. VALLADARES




L & B 24720/0002/L2091889.DOCX/                  11
